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                   UNITED STATES BANKRUPTCY COURT
                    NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION


IN RE:

Two Deluna LLC                                     Case No.: 22-30620-JCO

                                                   Chapter 11 Subchapter V
Debtor-in-Possession.
__________________________________________________________________

  ORDER GRANTING MOTION OF DEBTOR TO ADMINISTRATIVELY
              CLOSE SUBCHAPTER V CASE (DOC. 103)
__________________________________________________________________


         THIS MATTER having come before the Court upon the Motion of Debtor to

Administratively Close Subchapter V Case Pending Completion of Plan Payments

[Doc. 103] and the Court having considered the matter and noting that both the U.S.

Trustee and the Subchapter V Trustee consent and noting that no objections were

filed.

It is ORDERED:

         1.   The Motion of Debtor is hereby GRANTED.

         2.   The Chapter 11 Case of Two Deluna, LLC shall be administratively

closed until such time as plan payments are completed at which time the Debtor shall
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reopen the case for purposes of entry of a Discharge Order and Final Decree.

Dated: August 1, 2023




Attorney, J. Steven Ford, is directed to serve a copy of this order on all parties
appearing on Debtor's mailing matrix and file a proof of service within three (3)
days of entry of the order.


Prepared By: J. Steven Ford, Esq.
